CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 1 of 24




                 EXHIBIT A
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 2 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 1 of 23 PageID 1038



                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    FIREARMS POLICY COALITION, INC. ET
    AL.,

         Plaintiffs,

    v.                                                     No. 4:21-cv-1245-P

    STEVEN C. MCCRAW, IN HIS OFFICIAL
    CAPACITY AS DIRECTOR OF THE TEXAS
    DEPARTMENT OF PUBLIC SAFETY, ET AL.,

         Defendants.

                              OPINION & ORDER
       The Second Amendment protects the right of “the people” to keep and
    bear arms for self-defense. 1 Yet Texas prohibits law-abiding 18-to-20-
    year-olds from carrying a handgun for self-defense outside the home.
    Does the Second Amendment allow this blanket prohibition?

                               BACKGROUND
       Texas generally makes it illegal for 18-to-20-year-olds to carry a
    handgun for self-defense outside the home. Under Texas law, a “person
    commits an offense if the person: (1) intentionally . . . carries on or about
    his or her person a handgun; (2) at the time of the offense is younger
    than 21 years of age” unless that person is “on the person’s own premises
    or premises under the person’s control, or inside of or directly en route
    to a motor vehicle or watercraft that is owned by the person or under the
    person’s control.” TEX. PENAL CODE § 46.02(a).




         1Noless than the great civil rights leader Frederick Douglas wrote that “the
    liberties of the American people were dependent upon the Ballot-box, the Jury-
    box, and the Cartridge-box, that without these no class of people could live and
    flourish in this country.” FREDERICK DOUGLASS, THE LIFE AND TIMES OF
    FREDERICK DOUGLASS: FROM 1817-1882 333 (1881).
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 3 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 2 of 23 PageID 1039



       This general prohibition, however, does not apply to an individual
    with a license to carry a handgun. Id. §§ 46.15(b)(6)(A), (B). But besides
    a few exceptions for military personnel, honorably discharged veterans,
    and persons protected by a protective order under either the Texas
    Family Code or the Texas Code of Criminal Procedure, law-abiding 18-
    to-20-year-olds are prohibited from being licensed to carry a handgun.
    See TEX. GOV’T CODE §§ 411.172(a)(2), (g), (h), (i). Simply stated,
    although Texans over the age of 21 can carry a handgun (either openly
    or concealed) outside the home (with or without a license), law-abiding
    18-to-20-year-olds Texans are prohibited from carrying a handgun for
    self-defense outside the home.

       Two individual plaintiffs, between the ages of 18 and 20, and the
    Firearms Policy Coalition, Inc., on behalf of its 18-to-20-year-old Texas
    members, challenge the constitutionality of Texas’s statutory scheme
    that prohibits law-abiding 18-to-20-year-olds from carrying handguns
    for self-defense outside the home. Now before the Court are the Parties’
    cross-motions for summary judgment, which are ripe for review.

                             LEGAL STANDARD

       Summary judgment is appropriate where the movant demonstrates
    “there is no genuine dispute as to any material fact and the movant is
    entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a); see Six
    Dimensions, Inc. v. Perficient, Inc., 969 F.3d 219, 224 (5th Cir. 2020).

                                   ANALYSIS

       The issue is whether prohibiting law-abiding 18-to-20-year-olds from
    carrying a handgun in public for self-defense is consistent with this
    Nation’s historical tradition of firearm regulation. Based on the Second
    Amendment’s text, as informed by Founding-Era history and tradition,
    the Court concludes that the Second Amendment protects against this
    prohibition. Texas’s statutory scheme must therefore be enjoined to the
    extent that law-abiding 18-to-20-year-olds are prohibited from applying
    for a license to carry a handgun.




                                        2
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 4 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 3 of 23 PageID 1040



    A. Jurisdiction

       The Court starts with jurisdiction. The judicial power vested by
    Article III of the Constitution extends to “Cases” and “Controversies.”
    U.S. CONST. art. III, § 2, cl. 1. Because federal-court jurisdiction is
    limited to cases or controversies, plaintiffs must “establish they have
    standing to sue.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013)
    (quoting Raines v. Byrd, 521 U.S. 811, 818 (1997)); see also Umphress v.
    Hall, 500 F. Supp. 3d 553 (N.D. Tex. 2020) (Pittman, J.).

       To establish standing, a plaintiff must demonstrate that: (1) he or
    she suffered an injury in fact that is concrete, particularized, and actual
    or imminent, (2) the injury was caused by the defendant, and (3) the
    injury would likely be redressed by the requested judicial relief. Lujan
    v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992).

       Here, the individual plaintiffs have standing to challenge the laws
    that prohibit them from carrying a handgun for self-defense outside the
    home. On this point, each plaintiff lives in and often travels to Parker,
    Fannin, and Grayson Counties. And but for the laws that prohibit them
    from carrying a handgun, both individual plaintiffs attest that they
    would carry a handgun while traveling in those counties for work and
    for school. But because carrying a handgun would violate the law—and
    necessarily expose them to a credible threat of enforcement, see ECF
    No. 38 ¶ 60—neither individual plaintiff will violate the laws before this
    challenge.

       Based on declarations attesting to these facts, see ECF No. 59, the
    Court concludes that it has jurisdiction over this case and that the
    claims are ripe for review. When challenging the constitutionality of a
    statute, “a plaintiff need not violate the statute; [they] may meet [the]
    injury requirement by showing an intention to engage in a course of
    conduct arguably affected with a constitutional interest, but proscribed
    by a statute, and . . . a credible threat of prosecution thereunder.” Nat’l
    Rifle Ass’n of Am., Inc. v. McCraw, 719 F.3d 338, 345 (5th Cir. 2013)
    (“McCraw”) (cleaned up). In this case, the individual plaintiffs have
    “demonstrate[d] a realistic danger of sustaining a direct injury as a
    result of the statute’s operation or enforcement.” Babbitt v. United Farm



                                        3
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 5 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 4 of 23 PageID 1041



    Workers Nat. Union, 442 U.S. 289, 298 (1979). Accordingly, the Court
    concludes that the individual plaintiffs have standing.

        The Firearms Policy Coalition (“FPC”) has standing to sue on behalf
    of its members if: (a) any of its members would have standing to sue
    individually; (b) the interests it seeks to protect are germane to its
    purpose; and (c) neither the claim asserted, nor the relief requested,
    requires the participation of individual members in the lawsuit. Ass’n.
    of Am. Phys. & Surg., Inc. v. Tex. Med. Bd., 627 F.3d 547, 550 (5th Cir.
    2010).

       FPC has standing to challenge the laws that prohibit its members
    from carrying a handgun for self-defense outside the home. Here, the
    FPC is a coalition organized “to defend and promote the People’s
    rights—including the right to keep and bear arms—advance individual
    liberty, and restore freedom.” ECF No. 59 at 25. This lawsuit—which
    seeks to vindicate the right to bear arms for FPC’s 18-to-20-year-old
    members—is clearly germane to serving that purpose. And as discussed
    above, the FPC’s 18-to-20-year-old members have standing to sue
    individually. Accordingly, the Court concludes that FPC has standing to
    sue on behalf of its 18-to-20-year-old members. See, e.g., McCraw, 719
    F.3d 338; Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco,
    Firearms, and Explosives, 700 F.3d 185 (5th Cir. 2012) (“NRA”).

       Because Plaintiffs have standing to sue, the Court denies the Motion
    to Dismiss for Lack of Jurisdiction (ECF No. 32).
    B. Second Amendment Framework

        “A well regulated Militia, being necessary to the security of a free
    State, the right of the people to keep and bear Arms, shall not be
    infringed.” U.S. CONST. amend. II. The Second (and the Fourteenth)
    Amendment “protect[s] an individual’s right to carry a handgun for self-
    defense outside the home.” N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen,
    142 S. Ct. 2111, 2122 (2022); see also District of Columbia v. Heller, 554
    U.S. 570 (2008); McDonald v. Chicago, 561 U.S.742 (2010). This right,
    however, is not unlimited: our Nation’s historical tradition teaches that
    there are certain “longstanding,” “presumptively lawful regulatory




                                        4
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 6 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 5 of 23 PageID 1042



    measures” that the Second Amendment did not abrogate. Heller, 554
    U.S. at 626–27, n.26. 2

       In Bruen, the Supreme Court reiterated the standard for applying
    the Second Amendment. In doing so, the Supreme Court rejected the
    two-step framework adopted by the courts of appeal, calling it
    “inconsistent with Heller’s historical approach and its rejection of
    means-end scrutiny.” Bruen, 142 S. Ct. at 2129.

      Rather than means-end scrutiny, courts must “assess whether
    modern firearms regulations are consistent with the Second
    Amendment’s text and historical understanding.” Id. at 2132. Stated
    another way, courts must first interpret the Second Amendment’s text,
    as informed by history. And when the plain text covers an individual’s
    conduct, the Constitution presumptively protects that conduct. Id. at
    2129–30. “The government must then justify its regulation by
    demonstrating that it is consistent with the Nation’s historical tradition
    of firearm regulation. Only then may a court conclude that the
    individual’s conduct falls outside the Second Amendment’s ‘unqualified
    command.’” Id. at 2130 (quoting Konigsberg v. State Bar of Cal., 366 U.S.
    36, 50, n.10 (1961)).

    C. Application to Texas’s Categorical Prohibition

        With this framework, the Court turns to the merits: whether Texas
    can prohibit law-abiding 18-to-20-year-olds from carrying a handgun for
    self-defense outside the home.

       1. The Second Amendment’s Text

       The Court starts with the text. See, e.g., Shannon v. United States,
    512 U.S. 573, 580 (1994) (Thomas, J.) (“[W]e turn first, as always, to the
    text[.]”). If the plain text covers the proposed course of conduct, the


       2One   prominent, early commentator described the right to bear arms as
    “the true palladium of liberty . . . the right of self defence is the first law of
    nature: in most governments it has been the study of rulers to confine this right
    within the narrowest limits possible.” 1 ST. GEORGE TUCKER, BLACKSTONE’S
    COMMENTARIES: WITH NOTES OF REFERENCE TO THE CONSTITUTION AND
    LAWS, OF THE FEDERAL GOVERNMENT OF THE UNITED STATES; AND OF THE
    COMMONWEALTH OF VIRGINIA 300 (1803).


                                            5
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 7 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 6 of 23 PageID 1043



    Constitution presumptively protects that conduct. Here, Plaintiffs are
    law-abiding 18-to-20-year-olds seeking to carry a handgun for self-
    defense outside the home. It is undisputed that the “Second and
    Fourteenth Amendments protect an individual’s right to carry a
    handgun for self-defense outside the home.” Bruen, 142 S. Ct. at 2122.
    The relevant question, therefore, is whether law-abiding 18-to-20-year-
    olds are afforded this protection.

              a. “Right of the People”

       Are law-abiding 18-to-20-year-olds a part of “the people” mentioned
    in the Second Amendment? As explained below, the Court concludes
    that they are.

       To start, the Second Amendment does not mention any sort of age
    restriction. This absence is notable—when the Framers meant to impose
    age restrictions, they did so expressly. See, e.g., U.S. CONST. art. I, § 2
    (age 25 for the House of Representatives); id. art. I, § 3 (age 30 for the
    Senate); id. art. II, § 1 (age 35 for the President). Instead, the Second
    Amendment refers only to “the people,” which various Founding-Era
    dictionaries define as a reference to those who make up the “national
    community.” See United States v. Jimenez-Shilon, 34 F.4th 1042, 1044–
    45 (11th Cir. 2022) (quoting Noah Webster, American Dictionary of the
    English Language 600 (1st ed. 1828) (“The body of persons who compose
    a community, town, city, or nation.”)); see also 2 Samuel Johnson, A
    Dictionary of the English Language 305 (6th ed. 1785) (“A nation; those
    who compose a community.”)).

       In accord with that understanding, Heller said that “the people” is a
    term of art that refers to “all members of the political community, not
    an unspecified subset.” 554 U.S. at 580. Heller’s interpretation found
    support in an earlier decision, United States v. Verdugo-Urquidez, which
    considered the Fourth Amendment’s reference to “the people.” 494 U.S.
    259 (1990). There, the Court interpreted the phrase to encompass those
    “persons who are part of a national community” or those who have
    “sufficient connection with this country to be considered part of that
    community.” Id. at 265. And without challenging Heller’s interpretation,
    Bruen said it was undisputed that “ordinary, law-abiding, adult citizens



                                         6
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 8 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 7 of 23 PageID 1044



    [] are part of ‘the people’ whom the Second Amendment protects.” Bruen,
    142 S. Ct. at 2134. “The Second Amendment . . . ‘surely elevates above
    all other interests the right of law-abiding, responsible citizens to use
    arms’ for self-defense.” Id. at 2131 (quoting Heller, 554 U.S. at 635).

       With this guidance, the Court asks a simple question: are law-
    abiding 18-to-20-year-olds properly considered members of the political
    community and a part of the national community? The answer is yes.
    And based on that answer, the Court concludes that law-abiding 18-to-
    20-year-olds are a part of “the people” referenced in the Second
    Amendment. This conclusion is unsurprising: Heller stated that the
    “Second Amendment right is exercised individually and belongs to all
    Americans.” Heller, 554 U.S. at 581 (emphasis added).

       Other constitutional provisions bolster this Court’s interpretation of
    “the people.” The First and Fourth Amendments, like the Second
    Amendment, refer to “the people.” And both Heller and Verdugo-
    Urquidez suggest that the term “the people” is defined consistently
    throughout the Constitution. On this point, the First Amendment has
    been interpreted to apply to all persons, even those under the age of 18.
    See, e.g., Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506
    (1969) (free speech); see also W. Va. State Bd. of Educ. v. Barnette, 319
    U.S. 624, 642 (1943) (free exercise). And while the First Amendment is
    limited in some contexts (such as the forum or content of the speech),
    age does not serve as a basis for eradicating the right. See Tinker, 393
    U.S. at 506 (“First Amendment rights, applied in light of the special
    characteristics of the school environment, are available to teachers and
    students. It can hardly be argued that either students or teachers shed
    their constitutional rights to freedom of speech or expression at the
    schoolhouse gate.”).

       The Fourth Amendment likewise protects individuals regardless of
    age. See New Jersey v. T.L.O., 469 U.S. 325, 334 (1985). To be sure, the
    context of a search—e.g., whether on or off school property—can affect
    the expectations of privacy. Id. at 337–40. But the expectation of privacy
    is not affected based on the age of the person being searched. Rather,
    the context of a search is the distinguishing factor. See id.



                                        7
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 9 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 8 of 23 PageID 1045



       Thus, because neither the First nor Fourth Amendments exclude—
    nor have been interpreted to exclude—18-to-20-year-olds, the Court
    declines to read an implicit age restriction into the Second Amendment.

       Beyond the First and Fourth Amendments, other constitutional
    provisions, which do not specifically mention “the people,” support the
    Court’s conclusion that “the people” protected by the Second
    Amendment include 18-to-20-year-olds. On this point, neither the Fifth
    Amendment nor the Fourteenth Amendment exclude—or have been
    interpreted to exclude—18-to-20-year-olds. See, e.g., Fisher v. Univ. of
    Tex., 136 S. Ct. 2198, 2210 (2016) (equal protection); Goss v. Lopez, 419
    U.S. 565, 574 (1975) (due process); Kent v. Dulles, 357 U.S. 57, 65–66
    (1958) (travel); Brown v. Bd. of Educ., 347 U.S. 483, 493 (1954) (equal
    educational opportunities). Likewise, in the Eighth Amendment context,
    the Supreme Court has said that where “a line must be drawn,” “[t]he
    age of 18 is the point where society draws the line for many purposes
    between childhood and adulthood.” Roper v. Simmons, 543 U.S. 551, 574
    (2005). 3 The Court continues this line of interpretation and concludes
    that 18-to-20-year-olds are protected by the Second Amendment.

       With this conclusion, the Court now determines if interpreting “the
    people” to include 18-to-20-year-olds is consistent with the rest of the
    Second Amendment’s text. The Second Amendment contains two
    clauses: the prefatory clause, which announces the purpose of the
    Second Amendment, and the operative clause. And “[l]ogic demands
    that there be a link between the stated purpose and the command.”
    Heller, 554 U.S. at 595, 599. The Court must therefore determine
    whether its interpretation of “the people” is logically linked to the
    prefatory clause (and its stated purpose).

       Heller explained that a prefatory clause does not limit its operative
    clause. Instead, the prefatory clause here announces the Second
    Amendment’s purpose is to “prevent elimination of the militia.” Id. This


       3For  further discussion regarding how various constitutional provisions
    apply with varying level of force based on age, see Hirschfeld v. Bureau of
    Alcohol, Firearms, Tobacco & Explosives, 5 F.4th 407 (4th Cir. 2021), vacated
    as moot, 14 F.4th 322, 328 (4th Cir. 2021).


                                         8
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 10 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 9 of 23 PageID 1046



    stated purpose provides further evidence that the Second Amendment
    protects law-abiding 18-to-20-year-olds. Id. at 577 (noting that the
    “requirement of [a] logical connection may cause a prefatory clause to
    resolve an ambiguity in the operative clause”).

       As stated above, there must be a link between the stated purpose and
    the command. And given the Second Amendment’s stated purpose, logic
    demands that if an individual was (or is) a member of the “militia,” the
    Second Amendment’s protections extend at least to those who constitute
    the militia. That is, although the Second Amendment is not limited to
    only those in the militia, it must protect at least the pool of individuals
    from whom the militia would be drawn. See THOMAS M. COOLEY, THE
    GENERAL PRINCIPLES OF CONSTITUTIONAL LAW IN THE UNITED STATES OF
    AMERICA 271 (1880). It would be illogical to enumerate a constitutional
    right to keep and bear arms to maintain an armed militia if that right
    did not protect those individuals from whom a militia would be drawn. 4
      So who are these militia members? In United States v. Miller, the
    Supreme Court explained that “the Militia comprised all males
    physically capable of acting in concert for the common defense.” 307 U.S.
    174, 179 (1939). And in Heller, the Supreme Court affirmed this
    definition, stating that it “comports with founding-era sources.” Heller,
    554 U.S. at 595 (collecting sources). Thus, at the Founding, the “militia”
    was generally understood to be comprised of “all able-bodied men,”
    which included 18-to-20-year-olds. Id. at 596.
       The historical record supports this understanding. The First
    Congress enacted legislation “command[ing] that every able-bodied

       4William Rawle, an early Constitutional scholar and the first United States
    Attorney for Pennsylvania, provides the following insight:
       Although in actual war, the services of regular troops are
       confessedly more valuable; yet; while peace prevails, . . . the militia
       form the palladium of the country. . . . The corollary, from the first
       position, is, that the right of the people to keep and bear arms shall
       not be infringed. The prohibition is general. No clause in the
       Constitution could by any rule of construction be conceived to give
       congress a power to disarm the people.
    WILLIAN RAWLE, A VIEW OF THE CONSTITUTION OF THE UNITED STATES OF
    AMERICA 125–26 (2d ed. 1829).


                                           9
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 11 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 10 of 23 PageID 1047



    male citizen between the ages of 18 and 45 be enrolled in the militia and
    equip himself with appropriate weaponry.” Jones v. Bonta, 34 F.4th 704,
    719 (9th Cir. 2022) (quoting Perpich v. Dep’t of Def., 496 U.S. 334, 341
    (1990) (alterations omitted)). Additionally, the 1792 Act required militia
    members to arm themselves rather than rely on the Government to
    provide arms. See Miller, 307 U.S. at 179 (recognizing that the militia
    presupposed firearm possession because “when called for service[,] these
    men were expected to appear bearing arms supplied by themselves and
    of the kind in common use at the time”). Likewise, at the time of the
    founding, most states had similar laws requiring militia service for 18-
    to-20-year-olds. See generally Nat’l Rifle Ass’n v. Bureau of Alcohol,
    Tobacco, Firearms & Explosives, 714 F.3d 334 (5th Cir. 2013) (Jones, J.,
    dissenting). Thus, the undisputed historical evidence establishes that
    18-to-20-year-olds were understood to be a part of the militia in the
    Founding Era. 5 See Heller, 554 U.S. at 596 (explaining that the
    Constitution assumed the militia to exist at the time it was drafted).
    And because 18-to-20-year-olds were (and are) a part of the militia, the
    Second Amendment must protect their right to keep and bear arms.

        The Court thus concludes the plain text of the Second Amendment,
    as informed by Founding-Era history and tradition, covers the proposed

       5This  original understanding of who is a member of the militia has
    remained consistent over the course of this Nation’s history. See 10 U.S.C. §
    246(a) (“The militia of the United States consists of all able-bodied males at
    least 17 years of age . . . .”); cf. BURKE DAVIS, THE CIVIL WAR, STRANGE &
    FASCINATING FACTS 63 (1982) (“More than 2,000,000 Federal soldiers were
    twenty-one or under (of a of a total of some 2,700,000) [in the Civil War.]”).
        In fact, it is worth noting several of America’s greatest military heroes were
    under 21 years of age at the time of their acts of valor. For example, George
    Washington’s “adopted son,” Gilbert du Motier, Marquis de Lafayette, was only
    19 years old when he was made a major general in the Continental Army.
    JOSEPH J. ELLIS, HIS EXCELLENCY, GEORGE WASHINGTON, 115–16 (2004). And
    at only 19 years of age, Arthur MacArthur, Jr.—the “Boy Colonel” of the Civil
    War and father of General Douglas MacArthur—received the Medal of Honor
    for gallantry in action at the Battle of Missionary Ridge in 1863. GEOFFREY
    PERRET, OLD SOLDIERS NEVER DIE, THE LIFE OF DOUGLAS MACARTHUR 5–7
    (1996). Moreover, World War II’s most decorated soldier—a Texan named
    Audie Murphy—was also only 19 when he received the Medal of Honor for his
    actions at the Colmar Pocket on the Franco-German border. DON GRAHAM, NO
    NAME ON THE BULLET: A BIOGRAPHY OF AUDIE MURPHY 101 (1989).


                                           10
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 12 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 11 of 23 PageID 1048



    course of conduct and permits law-abiding 18-to-20-year-olds to carry a
    handgun for self-defense outside the home.

              b. Texas cannot rebut the Court’s conclusion that the plain text
                 covers the proposed course of conduct.
       Texas unsuccessfully attempts to avoid this holding by claiming that
    the Court’s conclusion is foreclosed by Fifth Circuit precedent. To
    support its argument, Texas points to NRA, 700 F.3d 185, and McCraw,
    719 F.3d 338. These cases analyzed the Second Amendment under the
    two-step framework repudiated by Bruen. 6 Texas argues that because
    Bruen abrogated only the Step Two analysis, the Step One analysis in
    both cases remains binding precedent.

       The Court agrees that Bruen overruled any Fifth Circuit precedent
    as to the Step Two analysis. But the Court disagrees that the Step One
    analysis of NRA and McCraw are binding here. Neither case purported
    to resolve the relevant issues based solely on a Step One analysis. First,
    NRA concluded its Step One analysis by stating that, although “it [was]
    inclined to uphold the challenged federal laws at step one of [its]
    analytical framework,” it “ultimately concluded that the challenged
    federal laws pass muster even if they implicate the Second Amendment
    guarantee.” 700 F.3d at 204. Second, McCraw, which purported to follow
    NRA, underscored the limited nature of NRA’s Step One analysis:
    “[U]nder circuit precedent, we conclude that the conduct burdened by
    the Texas scheme likely ‘falls outside the Secondment Amendment’s
    protection.” 719 F.3d at 347 (emphasis added).

       As apparent from this language, Step One analysis neither demands
    a certain result nor can it be considered a “necessary prerequisite to the
    holding” that would bind a future court. In re Ulta Petroleum Corp., 28
    F.4th 629, 641 (5th Cir. 2022). The Step Two analysis—not the Step One


       6Before   Bruen, the Fifth Circuit utilized a two-step framework. At Step
    One, courts determined whether the challenged law impinged upon a right
    protected by the Second Amendment—that is, whether the law regulates
    conduct that falls within the scope of the Second Amendment’s guarantee. At
    Step Two, courts would determine whether the law survived the proper level
    of scrutiny. As Bruen made clear, Step Two was incompatible with Heller and
    the Second Amendment.


                                        11
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 13 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 12 of 23 PageID 1049



    analysis—is necessary for the result in both NRA and McCraw.
    Accordingly, the Court concludes that neither NRA nor McCraw is
    dispositive here. Cf. Univ. of Tex. v. Camenisch, 451 U.S. 390, 394–95
    (1981) (noting the distinction between a “likelihood of success” on the
    merits—which is the language used in McCraw—and actual “success”
    on the merits). Thus, the Court considers the Step One analysis only to
    the extent that it persuades this Court that the Second Amendment’s
    plain text does not cover the proposed course of conduct at issue here.

       On this point, the Court finds neither NRA nor McCraw persuasive.
    In NRA, the Fifth Circuit considered the constitutionality of 18 U.S.C.
    § 922(b)(1) and (c)(1), which prohibit federally licensed firearms dealers
    from selling handguns to persons under the age of 21. NRA, 700 F.3d at
    188. That issue, which centered on law-abiding 18-to-20-year-olds
    purchasing handguns, is wholly different than the issue here—whether
    law-abiding 18-to-20-year-olds can carry a handgun for self-defense
    outside the home.

       Further, courts must start and end with the text. 7 As an interpretive
    tool, courts may consult the historical record to determine what the
    public may have understood that text to mean at the time it was ratified
    or codified. NRA, however, failed to grapple with the text of the Second
    Amendment. Instead, as Judge Jones explains, the Fifth Circuit
    considered only “Founding-Era Attitudes.” Thus, instead of first
    determining whether the Second Amendment’s plain text covers the
    proposed conduct (as Heller and Bruen command), NRA considered only
    what (a portion of) the historical record revealed about general
    Founding-Era attitudes. While the Founders’ attitudes can inform a


       7As   Chief Justice John Marshall eloquently stated 195 years ago:
       To say that the intention of the instrument must prevail; that this
       intention must be collected from its words; that its words are to be
       understood in that sense in which they are generally used by those
       for whom the instrument was intended; that its provisions are
       neither to be restricted into insignificance, nor extended to objects
       not comprehended in them, nor contemplated by its framers . . . .
    Ogden v. Sanders, 25 U.S. (12 Wheat) 213, 332 (1827) (Marshall, C.J.
    dissenting).


                                          12
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 14 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 13 of 23 PageID 1050



    court of the public’s understanding of a specific text at the time it was
    ratified, that understanding must be tethered to an interpretation of the
    text itself. And on this point, NRA failed to explain how those “attitudes”
    informed the public of what the text of the Second Amendment meant
    when it was ratified. Thus, NRA is not persuasive as to whether the
    Second Amendment’s plain text covers law-abiding 18-to-20-year-olds
    carrying a handgun for self-defense outside the home. And because
    McCraw adopted NRA’s Step One analysis without any further
    discussion, it suffers from the same shortcoming and is also
    unpersuasive in this case.

       The Court thus disagrees with Texas’s interpretation of the Second
    Amendment’s text and the historical understanding of that text. Thus,
    the analysis moves to Texas’s attempt to justify its regulation by
    showing it is consistent with the Nation’s historical tradition of firearm
    regulation.

       2. This Nation’s Historical Tradition of Gun Regulation

       Bruen is clear: “[W]hen the Second Amendment’s plain text covers
    an individual’s conduct, the Constitution presumptively protects that
    conduct.” 142 S. Ct. at 2129–30. Because (as detailed above) the plain
    text covers ordinary, law-abiding 18-to-20-year-olds carrying a handgun
    for self-defense outside the home, that conduct is presumptively
    protected by the Constitution. The burden therefore falls on Texas to
    “affirmatively prove that its firearms regulation is part of the historical
    tradition that delimits the outer bounds of the right to keep and bear
    arms.” Id. at 2127. Because Texas failed to carry its burden, the law
    must be enjoined.

       Courts use analogical reasoning to determine whether a modern
    regulation is constitutional. Such reasoning “requires only that the
    government identify a well-established and representative historical
    analogue, not a historical twin.” Id. at 2133. This necessarily requires
    courts to understand and compare “how and why the regulations burden
    a law-abiding citizen’s right to armed self-defense.” Id. Thus, “whether
    modern and historical regulations impose a comparable burden on the
    right of armed self-defense and whether that burden is comparably



                                        13
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 15 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 14 of 23 PageID 1051



    justified are ‘central’ considerations when engaging in an analogical
    inquiry.” Id. (quoting McDonald, 561 U.S. at 767). However, the
    regulation-in-question need not be “a dead ringer for historical
    precursors” to withstand challenge. Id.

          a. The “longstanding,” “presumptively reasonable restrictions”
             articulated by Heller and Bruen do not apply here.
        Before analyzing the historical analogues that Texas presents, the
    Court first considers whether this case is analogous to the specific kinds
    of restrictions that both Heller and Bruen suggested are constitutional.
    As explained below, none resolve this case.

       First, the relevant restriction here is Texas prohibiting law-abiding
    18-to-20-year-olds from carrying a handgun for self-defense outside the
    home. Thus, Texas’s restriction hinges solely on the person’s age.
    Because age is the distinguishing factor, Texas’s statutory scheme is
    therefore not analogous to “longstanding” “laws forbidding the carrying
    of firearms in sensitive places such as schools and government
    buildings.” Heller, 554 U.S. at 626; Bruen, 142 S. Ct. at 2133–34.

       Second, Texas’s prohibition does not distinguish between a law-
    abiding 18-to-20-year-old carrying a handgun openly and a law-abiding
    18-to-20-year-old carrying a handgun concealed. And rather than
    implementing a “reasonable regulation” specific to the “manner of public
    carry,”—e.g., to guard against individuals “carry[ing] deadly weapons in
    a manner likely to terrorize others”—Texas categorically prohibits law-
    abiding 18-to-20-year-olds from publicly carrying handguns. Bruen, 142
    S. Ct. at 2150. Accordingly, Texas’s laws cannot be upheld based on the
    “historical evidence from antebellum America” showing that “the
    manner of public carry was subject to reasonable regulation.” Id.
    (“States could lawfully eliminate one kind of public carry—concealed
    carry—so long as they left open the option to carry openly.”).

       Third, Texas is a shall-issue state. This means Texas implements
    nondiscretionary licensing restrictions. Texas, however, prohibits law-
    abiding 18-to-20-year-olds from applying for such a license. Thus,
    although Heller and Bruen reiterated that “nothing” “should be
    interpreted to suggest the unconstitutionality of the 43 States’ ‘shall-



                                       14
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 16 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 15 of 23 PageID 1052



    issue’ licensing regimes,” id. at 2139 n.9, a shall-issue regime cannot
    allow a state to prohibit a class of persons from exercising their Second
    Amendment right solely based on their age.

        On this point, Texas argues that the Supreme Court’s reassurances
    bar Plaintiffs’ claims. But Texas misunderstands Plaintiffs’ requested
    relief. Instead of enjoining the entire statutory scheme, Plaintiffs seek
    to enjoin only provisions that prohibit them from applying for a license
    to carry a handgun. Thus, it is consistent with the Supreme Court’s
    reassurances to require Texas to provide 18-to-20-year-olds the
    opportunity to satisfy whatever nondiscretionary licensing restrictions
    Texas chooses.

      Fourth, this case does not involve gun ownership by felons or the
    mentally ill. Heller, 554 U.S. at 626–27; Bruen 142 S. Ct. at 2162
    (Kavanaugh, J., concurring).

       Fifth, this case does not entail the “historical tradition of prohibiting
    the carrying of dangerous and unusual weapons.” Id.

       Finally, this case is not about “laws imposing conditions or
    qualifications on the commercial sale of arms.” Id.

       Accordingly, the specific kinds of restrictions that both Heller and
    Bruen indicated are constitutional and do not resolve this case. The
    Court thus turns to Texas’s arguments.

           b. Texas’s Historical Analogue Arguments
       As Bruen made clear, Texas must “affirmatively prove that its
    firearms regulation is part of the historical tradition that delimits the
    outer bounds of the right to keep and bear arms.” See id. at 2127. Texas
    argues that the “thorough and compelling” historical analysis in NRA
    satisfies this burden. 8 The Court, however, is unpersuaded. To start,

       8Here,  “[t]he job of judges is not to resolve historical questions in the
    abstract; it is to resolve legal questions presented in particular cases or
    controversies.” Bruen, 142 S. Ct. at 2130 n.6 (emphasis in original). And “[i]n
    our adversarial system of adjudication, we follow the principle of party
    presentation.” United States v. Sineneng-Smith, 140 S.Ct. 1575, 1579 (2020).
    Courts are thus entitled to decide a case based on the historical record compiled
    by the parties. Bruen, 142 S. Ct. at 2130 n.6.


                                           15
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 17 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 16 of 23 PageID 1053



    NRA failed to grapple with the Second Amendment’s text. Likewise, as
    Judge Jones stressed in her dissent, NRA failed to conduct a tailored
    historical analysis.

       NRA discussed four types of historical evidence: (1) Founding-Era
    “gun safety regulations,” (2) laws “that targeted particular groups for
    public safety reasons,” (3) the age of majority at the time of the
    Founding, and (4) state laws—starting in the second half of the 19th
    century—“restricting the ability of persons under 21 to purchase or use
    particular firearms.” NRA, 700 F.3d at 200–03.

       But based on Bruen’s guidance, NRA’s historical analysis is not
    enough to support Texas’s prohibition. To be sure, Bruen stressed that
    modern firearms regulations need not be a “dead ringer for historical
    precursors” and a law will pass constitutional muster if it is “analogous
    enough” to historical firearms restrictions.” Id. at 2133. Courts,
    however, must be able to conclude modern and historical regulations
    impose a “comparable burden” that is “comparably justified.” Id. Here,
    however, the Court concludes that Texas failed to carry its burden on
    this point.

       NRA cited to only a few restrictions that dated back to the time of
    the Second Amendment’s ratification: “laws regulating the store of gun
    powder,” “administering gun use in the context of militia service,” and
    “prohibiting the use of firearms on certain occasions and in certain
    places.” NRA, 700 F.3d at 200. These regulations, however, are not
    sufficient historical analogs to Texas’s statutory scheme that prohibits
    law-abiding 18-to-20-year-olds from carrying a handgun for self-defense
    outside the home. See Heller, 554 U.S. at 632 (explaining that these sorts
    of regulations “provide no support for [a] severe restriction” since “they
    do not remotely burden the right of self-defense as much as an absolute
    ban on handguns”).

       NRA’s reference to laws “that targeted particular groups for public
    safety reasons” is also insufficient historical analogs to support Texas’s
    statutory scheme. NRA, 700 F.3d at 200. The Supreme Court has
    repeatedly recognized the presumed constitutionality of “longstanding
    prohibitions on the possession of firearms by felons and the mentally ill.”



                                        16
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 18 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 17 of 23 PageID 1054



    Heller, 554 U.S. at 626–27; Bruen 142 S. Ct. at 2162 (Kavanaugh, J.,
    concurring). But this recognition of specific “longstanding prohibitions”
    does not support a general prohibition on almost all 18-to-20-year-olds—
    just because of their age.

      Instead, the longstanding prohibitions regarding felons and the
    mentally ill were based on an individualized determination that
    allowing the person in question unfettered access to firearms would pose
    a threat to public safety. Texas’s statutory scheme does the opposite.
    The scheme starts by prohibiting 18-to-20-year-olds from carrying a
    handgun for self-defense outside the home. Only if a rare exception
    applies may an 18-to-20-year-old seek to obtain a license to carry. And
    rather than determining that a person in question is a threat to public
    safety, certain exceptions require an individualized determination
    before allowing a person to exercise their Second Amendment rights. See
    TEX. GOV’T CODE § 411.172(i) (allowing an 18-to-20-year-old to become
    “eligible for a license to carry a handgun if the person is protected under
    an active protected order” issued under the Texas Family Code or Texas
    Code of Criminal Procedure).

       NRA also focused on the age of majority. At the Founding, the
    common law age of majority was 21 years old. States did not enact
    legislation lowering the age of majority to 18 until the 1970s. Compare
    U.S. CONST. amend. XXVI (the amendment lowering the voting age of
    U.S. citizens from 21 to 18 years of age was ratified by the states on July
    1, 1971), with NRA 700 F.3d at 201 (recognizing it was not until the
    1970s that the States enacted legislation lowering the age of majority
    from 21 to 18). Texas thus argues the Second Amendment cannot protect
    the rights of those whom the Founding Era considered to be infants in
    the eyes of the law. The age of majority, however, tells us very little
    about the scope of the Secondment Amendment’s protections; reliance
    on the age of majority does not move the needle in favor of either party.

       Generally, the Second Amendment guarantees “the right of the
    people to keep and bear Arms,” and the “people” referred to in the Bill
    of Rights have always been understood to be “the whole people.” THOMAS
    MCINTYRE COOLEY, GENERAL PRINCIPLES OF CONSTITUTIONAL LAW IN
    THE   UNITED STATES   OF   AMERICA 267–68 (1880). More specifically, “the


                                         17
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 19 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 18 of 23 PageID 1055



    age of majority—even at the Founding—lacks meaning without
    reference to a particular right. 1 WILLIAM BLACKSTONE, COMMENTARIES
    463–65 (1765). Instead, the relevant age of majority depends on capacity
    or activity. See id. at 463–65 (recognizing the “different capacities which
    [individuals] assume at different ages”). As a result, “constitutional
    rights were not generally tied to an age of majority, as the First and
    Fourth Amendments applied to minors at the Founding as they do
    today.” Hirschfeld, 5 F.4th at 435.

       Further, neither NRA nor Texas points to any laws—premised on the
    common law age of majority—that is a sufficient historical analog to
    support Texas’s statutory prohibition. This is relatively expected: The
    militia was composed of those that had yet to attain the age of majority.
    Thus, the Court concludes that the age of majority cannot support
    Texas’s statutory scheme. See Heller, 554 U.S. at 612–13 (quoting Nunn
    v. Georgia, 1 Ga. 243, 250 (1846)).

       Finally, NRA focused on state laws at the end of the 19th century
    that “restrict[ed] the ability of persons under 21 to purchase or use
    particular firearms.” NRA, 700 F.3d at 202. The earliest law cited is
    from 1856. Accordingly, NRA’s “thorough and compelling” historical
    analysis is void of any laws from the Founding Era. On this point, the
    historical record before the Court establishes (at most) that between
    1856 and 1892, approximately twenty jurisdictions (of the then 45
    states) enacted laws that restricted the ability of those under 21 to
    “purchase or use firearms.” See id. And by 1923, three more states joined
    with similar laws. Id. But the record stops short and does not show any
    “historical analogs” from the Founding Era.

       This case therefore presents the Court with an important question:
    What history should a court consider? To this point, Bruen recognized
    an “ongoing scholarly debate” on whether the Fourteenth Amendment’s
    ratification in 1868 imbued the Second Amendment with a new and
    different meaning to the States than it had to the Federal Government
    in 1791. Bruen, 142 S. Ct. at 2138.

       The Supreme Court nonetheless clarified that the “post-Civil war
    discussion of the right to bear arms, [which] ‘took place 75 years after



                                        18
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 20 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 19 of 23 PageID 1056



    the ratification of the Second Amendment, . . . do[es] not provide as much
    insight into its original meaning as earlier sources.’” Id. at 2137–38
    (quoting Heller, 554 U.S. at 614). Bruen “should not be understood to
    endorse freewheeling reliance on historical practice form the mid-to-late
    19th century to establish the original meaning of the Bill of Rights.” See
    id. at 2163 (Barrett, J., concurring). Thus, despite the “ongoing scholarly
    debate,” Bruen recognized the Supreme Court has “made clear that the
    individual rights enumerated in the Bill of Rights and made applicable
    through the States through the Fourteenth Amendment have the same
    scope as against the Federal Government.” Id. at 2137 (citing Ramos v.
    Louisiana, 140 S. Ct. 1390 (2020); Timbs v. Indiana, 139 S. Ct. 682
    (2019); Malloy v. Hogan, 378 U.S. 1, 10 (1964)).

       To uphold Texas’s statutory prohibition on this record, this Court
    would have to “giv[e] postenactment history more weight than it can
    rightly bear.” See id. at 2136. Thus, the Court concludes Texas failed to
    produce sufficient historical analogs from the Founding Era and the
    Reconstruction Era to support its statutory prohibition. The Court
    therefore enjoins the Texas laws to the extent they prohibit law-abiding
    18-to-20-year-olds from applying for a license to carry a handgun. 9

       Even if the Court focuses too heavily on Founding-Era history rather
    than exclusively on Reconstruction-Era history, Texas still failed to
    carry its burden. At most, Texas’s historical analogs show only that, by
    1923, 22 states had laws imposing general restrictions on “the purchase
    or use of firearms” for those younger than 21. Based on Bruen’s
    guidance, however, the Court concludes these laws cannot sufficiently
    establish that a prohibition on law-abiding 18-to-20-year-olds carrying
    a handgun in public for self-defense is consistent with this Nation’s
    historical tradition of firearm regulation.

    D. The Court stays this injunction for 30 days, pending appeal.
       Federal Rule of Civil Procedure 62(a) provides an automatic stay
    upon a judgment’s execution for thirty days. FED. R. CIV. P. 62(a). For a


       9Though   Texas cannot impose a “substantial burden on public carry” for 18-
    to-20-year-olds, Texas could, under Bruen, require 18-to-20-year-olds to satisfy
    additional objective criteria when compared to those above the age of 21.


                                          19
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 21 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 20 of 23 PageID 1057



    final judgment that grants an injunction, however, there is no automatic
    stay. Id. The Court may exercise its discretion to “suspend [or] modify”
    an injunction pending appeal if it provides “terms that secure the
    opposing party’s rights.” Id. at 62(d). The relevant factors in determining
    if a court should stay an injunction pending appeal are: (1) whether the
    party against whom the injunction was granted made a strong showing
    of a likelihood of success on the merits; (2) whether the party against
    whom the injunction was granted will be irreparably injured absent a
    stay; (3) whether a stay will substantially injure the other parties’
    interests; and (4) where the public interest lies. Hilton v. Braunskill, 481
    U.S. 770, 776 (1987); see also Hunt v. Bankers Tr. Co., 799 F.2d 1060,
    1067 (5th Cir. 1986); 11 CHARLES ALAN WRIGHT & ARTHUR R. MILLER,
    FEDERAL PRACTICE AND PROCEDURE § 2904 (3d ed.). Despite these clear-
    cut factors, the decision to issue a stay pending appeal “contemplate[s]
    individualized judgments in each case,” and it “cannot be reduced to a
    set of rigid factors.” Hilton, 481 U.S. at 777.
       Here, the Court ultimately concludes it should stay the injunction for
    thirty days, pending appeal. Of the four factors at issue in this test, only
    the first factor is a close call. As discussed above, determining the
    “historical analog” of a regulation presents many questions without fully
    formed answers. For instance, different interpretations on whether
    Reconstruction-era history is applicable or how closely a valid regulation
    must hew to its predecessor could, for instance, alter the outcome of this
    case. The Court’s crystal ball is further clouded by the fact that the Fifth
    Circuit twice upheld this regulation under previous challenges. Thus,
    the Court concludes Texas has a likelihood of success if this judgment is
    appealed to the Fifth Circuit.
       The remaining three factors all weigh heavily in favor of granting an
    injunction. “When a statute is enjoined, the State necessarily suffers the
    irreparable harm of denying the public interest in the enforcement of its
    laws.” Planned Parenthood of Greater Tex. Surg. Health Servs. v. Abbott,
    734 F.3d 406, 419 (5th Cir. 2013). Texas also has an interest in the full
    adjudication of this issue before it issues potentially invalid licenses to
    carry a handgun. Further, Texas’s “interest and harm merges with that
    of the public.” Id.



                                        20
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 22 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 21 of 23 PageID 1058



       Though Plaintiffs’ interest in the vindication of their Constitutional
    rights suffers while the judgment is stayed, the stay is necessary to
    militate the possible negative effects of relying on the injunction while
    it is subject to appellate review and possible reversal. If the Court’s
    decision is reversed after Plaintiffs rely on it to purchase and carry
    handguns or apply for licenses to carry, they may be subject to the very
    criminal liability they sought to avoid. While acknowledging the
    unusual circumstance of sua sponte staying its own injunction, the Court
    concludes that “a temporary stay is appropriate to ‘suspend[] judicial
    alteration of the status quo’” because it “will allow [the Fifth Circuit] to
    hear oral arguments and rule on the merits.” Veasey v. Abbott, 870 F.3d
    387, 392 (5th Cir. 2017) (quoting Nken v. Holder, 556 U.S. 418, 429
    (2009)). After review of all relevant factors, the Court stays its judgment
    and injunction for thirty days or pending the final disposition of any
    appeal that may result from this judgment.
    E. Plaintiffs are not barred from seeking fees if they ultimately
       prevail on the merits.
       Defendants Glazer and Smith argue that Plaintiffs are barred from
    the recovery of attorneys’ fees against them. They argue that they are
    entitled to sovereign, qualified, and prosecutorial immunity. They also
    argue that Plaintiffs may not seek injunctive relief under the doctrine of
    Ex Parte Young while also bringing a claim under § 1983—that
    Plaintiffs must choose between the remedies.

        The “American Rule” remains that parties must bear their own costs
    and attorneys’ fees. Yet under 42 U.S.C. § 1988, the prevailing party in
    a civil rights case under § 1983 ordinarily should recover attorneys’ fees
    unless special circumstances would render such an award unjust. See
    Blanchard v. Bergeron, 489 U.S. 87, 91 (1989). Further, attorneys’ fees
    awarded “ancillary to prospective relief [are] not subject to the strictures
    of the Eleventh Amendment.” Missouri v. Jenkins, 491 U.S. 274, 279
    (1989). And when state sovereign immunity applies, “Congress had
    spoken sufficiently clearly to overcome [it] in enacting § 1988.” Id.
    Therefore, if Plaintiffs’ claims arise out of § 1983 and accordingly are
    entitled to recover under § 1988, Defendants’ arguments about
    sovereign immunity must fail.



                                        21
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 23 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 22 of 23 PageID 1059



       Further, if Plaintiffs’ claim arose out of the doctrine of Ex Parte
    Young, the award of attorneys’ fees is not barred by an immunity
    argument. The award of attorneys’ fees is “ancillary” to an injunction.
    Id. at 279. It does not “compensate”; rather, it “reimburses [the plaintiff]
    for a portion of the expenses [] incurred in seeking prospective relief.”
    Hutto v. Finney, 437 U.S. 678, 695 n.24 (1978). Again, Defendants’
    arguments that they may invoke sovereign immunity to escape paying
    fees fail.

       Finally, Defendants’ own cases appear to contradict their theory that
    a § 1983 claim precludes relief under Ex Parte Young or vice versa. See,
    e.g., Fitzpatrick v. Bitzer, 427 U.S. 445 (1976) (holding that
    Congressional authority to enact legislation pursuant under Section 5 of
    the Fourteenth Amendment supersedes Eleventh Amendment
    Immunity). Thus, the Court cannot conclude that the Plaintiffs are
    barred as a matter of law from seeking attorneys’ fees. Therefore,
    Defendant’s motion to bar attorneys’ fees is DENIED.

                                    ORDER
       As explained, the Court concludes that it has jurisdiction and that
    Plaintiffs’ claims are ripe for review. The Court therefore DENIES
    Defendants’ Motion to Dismiss for Lack of Jurisdiction (ECF No. 32).

       Further, the Court GRANTS Plaintiffs’ Motion for Summary
    Judgment (ECF No. 57) and DENIES Defendants’ Motions for
    Summary Judgment (ECF Nos. 45, 48, 51).

       Accordingly, the Court ORDERS that:

       1. To the extent that Texas’s statutory scheme, TEX. PENAL CODE
          § 46.02(a) and TEX. GOV’T CODE §§ 411.172(a)(2), (g), (h), (i),
          prohibits law-abiding 18-to-20-year-olds from carrying handguns
          for self-defense outside the home based solely on their age, this
          statutory scheme violates the Second Amendment, as
          incorporated against the States via the Fourteenth Amendment.
       2. Defendants and all their officers, agents, servants, employees,
          attorneys, and other persons who are in active concert or
          participation    with    them        are   hereby   ENJOINED     and



                                          22
    CASE 0:21-cv-01348-KMM-LIB Doc. 75-1 Filed 08/25/22 Page 24 of 24
Case 4:21-cv-01245-P Document 74 Filed 08/25/22 Page 23 of 23 PageID 1060



          RESTRAINED from enforcing Texas’s statutory scheme against
          law-abiding 18-to-20-year-olds based solely on their age.
       3. This injunction is hereby STAYED for thirty days, or pending
          appeal, for the duration of the appellate process.

       SO ORDERED on this 25th day of August 2022.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE




                                   23
